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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 22-cv-20203 KMM/LOUIS

  SYLVAN PLOWRIGHT
       Plaintiff,

  v.

  MIAMI-DADE COUNTY,
  A Political subdivision of the
  State of Florida and ALFREDO RAMIREZ III,
  CHIEF MDPD, officers
  L. RONDON and A. CORDOVA
          Defendants.
  ________________                __________/

         PLAINTIFF’S RULE 26 a 1 INITIAL DISCLOSURES
  Pursuant to Federal Rule of Civil Procedure 26(a)(1) and the joint Case Management Order,

  plaintiff, SYLVAN PLOWRIGHT,, through his undersigned counsel, makes the following initial

  disclosures to the defendants in the above-referenced lawsuits. These disclosures are based on

  information presently known and reasonably available to SYLVAN PLOWRIGHT and which

  SYLVAN PLOWRIGHT reasonably believes he may use in support of his claims and defenses.

  Continuing investigation and discovery may cause SYLVAN PLOWRIGHT to amend these

  initial disclosures, including by identifying other potential witnesses, documents and by

  disclosing other pertinent information. SYLVAN PLOWRIGHT therefore reserves the right to

  supplement these initial disclosures.

  By providing these initial disclosures, SYLVAN PLOWRIGHT does not represent that he is

  identifying every document, tangible thing or witness possibly relevant to this action. In addition,

  these disclosures are made without SYLVAN PLOWRIGHT in any way waiving his right to
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  object to any discovery request or proceeding involving or relating to the subject matter of these

  disclosures on any grounds, including competency, privilege, relevancy and materiality, hearsay,

  undue burden, confidentiality, or any other appropriate grounds. Furthermore, these disclosures

  are not an admission by PLOWRIGHT regarding any matter.

  Each and every disclosure set forth below is subject to the above qualifications and limitations.

  1. Individuals Likely to Have Discoverable Information

  Individuals likely to have discoverable factual information that SYLVAN PLOWRIGHT may

  use to support his claim in the above-referenced lawsuits are:

  1.. Miami Dade Police Department

  2. Althea Campbell P.O Box 540713 Opalocka Fla.

  3.Stanley Wong 14531 NE 5th Ct Miami

  4. Ken Nudelman 14530 NE 5th Ct Miami

  5. Mrs. Shirley Knecht, 14500 N.E. 5 Ct., North Miami, FL 33161

  6. Ms. Louvon Johnson, 14515 N.E. 5th Ct., North Miami, FL 33161

  7. Mr. Marvin Weeks, 2136 N.W. 8th Ave., Apt 118, Miami, FL 33127

  8. Mr. Leonard Howard, 131 N. E. 70 St., Miami, FL 33138

  2. Description of Documents

  The following enumerates documents, data, and other tangible things in the possession, control

  or custody of SYLVAN PLOWRIGHT that he may use to support their claim include: a.
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  Documents and Body Camera from MDPD investigation of the shooting death of the dog Niles;

  b. Documents from MDPD regarding Taser use c. MDPD newspaper comments regarding

  policy implementation for interaction with pets and memoranda, training and personnel files of

  the officers involved.

  3. Computation of Damages

  SYLVAN PLOWRIGHT seeks liability for damages for the losses for the civil right s violations

  committed, wrongful death of his pet and excessive force used the seizure of his property. Sylvan

  has been traumatized as a result of this shooting and this has affected his wages earing capacity.

  SYLVAN PLOWRIGHT will present evidence of his suffering to the court and jury justifying

  his two hundred fifty-thousand-dollar demand.

  4. Insurance

  SYLVAN PLOWRIGHT is continuing to investigate potential insurance coverage claims related

  to the defendants in this matter.

  Dated: June 22, 2022

                                CERTIFICATE OF SERVICE

  I hereby certify that on this June 22, 2022 I electronically filed the foregoing document with the

  Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day

  on all counsel of record for service via transmission of Notices of Electronic filing generated by

  CM/ECF.


                                                               /s/ William C. Robinson

                                                               WILLIAM C. ROBINSON, ESQ
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 22-cv-20203 KMM/LEWIS

  SYLVAN PLOWRIGHT

        Plaintiff,

  v.

  MIAMI-DADE COUNTY,
  A Political subdivision of the
  State of Florida and ALFREDO RAMIREZ III,
  CHIEF MDPD, officers
  L. RONDON and A. CORDOVA

        Defendants.
  ________________                __________/
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                    SCHEDULE JOINTLY PROPOSED BY THE PARTIES


          THIS MATTER is to be set for trial in May of 2023 for three to four days (3 to 4)
  days. The Parties propose to adhere to the following schedule:

   May 1, 2022           The Parties shall furnish their initial disclosures pursuant to Fed. R. Civ.

                         P 26. The Parties are under a continuing obligation to furnish

                         supplements within ten (10) days of receipt or other notice of new or

                         revised information.

   May 5, 2022           The Parties shall file motions to amend pleadings or join parties.

   December 24, 2022     The Parties shall disclose experts, expert witness summaries and reports

                         as required by Federal Rule of Civil Procedure 26(a)(2).

                         The Parties shall exchange rebuttal expert witness summaries and

                         reports, as required by Federal Rule of Civil Procedure 26 (a)(2).

   November 19, 2022     The Parties shall complete all discovery, including expert discovery.
   December 30, 2022     The Parties shall complete mediation and file a mediation report with

                         the Court.

   February 16, 2023     The Parties shall file all dispositive pre-trial motions and memoranda of

                         law. The Parties shall also file any motions to strike or exclude expert

                         testimony, whether based on Federal Rule of Evidence 702 and Daubert

                         v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) or any other

                         basis.

   April 17, 2023        The Parties shall each file one motion in limine. All motions in

                         limine must be filed at least six (6) weeks before calendar call.

   May 1, 2023           The Parties shall file their joint pretrial stipulation, witness lists, and
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                       exhibit lists in accordance with Local Rule 16.1(d) and (e). The

                       Parties shall also file proposed jury instructions and a proposed

                       verdict form, or statement of fact and conclusions of law (for non

                       jury trials).

  May 1, 2023         The Parties shall submit their deposition designations.
  By:
  /s/ William c. Robinson________________                   /s/ Erica Zaron__________________
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